 Case 2:19-mj-06194-SCM Document 1 Filed 07/02/19 Page 1 of 7 PageID: 1




                UNITED STATES DISTRICT COURT
                   DISTRICT OF NEW JERSEY

UNITED STATES OF AMERICA              :   Hon. Steven C. Mannion

           v.                         :   Mag. No. 19-6194

MATFHEW S. ELLIS
                                          CRIMINAL COMPLAINT




      I, Brian Dyson, being duly sworn, state the following is true and correct to
the best of my knowledge and belief:

                             SEE ATTACHMENT A

      I further state that I am a Special Agent with the U.S. Department of Health
and Human Services, Office of Inspector General, and that this Complaint is
based on the following facts:

                             SEE ATTACHMENT B

continued on the attached pages and made a p      t hereof.




                                     Brin Dyson, Special Agent
                                     U.S. Department of Health and Human
                                     Services, Office of Inspector General

Sworn to before me, and
subscribed in my presence

July 3, 2019 at
Newark, New Jersey

HONORABLE STEVEN C. MANNI0N
UNITED STATES MAGISTRATE JUDGE                  of Judicial Officer
 Case 2:19-mj-06194-SCM Document 1 Filed 07/02/19 Page 2 of 7 PageID: 2



                               ATTACHMENT A

                                COUNT ONE
                 (Conspiracy to Commit Health Care Fraud)

      From at least as early as in or about October 2018 through in or about the
present, in the District of New Jersey and elsewhere, defendant

                             MATTHEW S. ELLIS

did knowingly and intentionally conspire and agree with EDWARD KOSTI$HION,
KACEY PLAISANCE, and others to execute a scheme and artifice to defraud the
Medicare program, a health care benefit program as defined under Title 18,
United States Code, Section 24(b), and to obtain, by means of false and
fraudulent pretenses, representations, and promises, money and property owned
by, and under the custody and control of said health care benefit program, in
connection with the delivery of and payment of health care benefits, items, and
services, contrary to Title 18, United States Code, Section 1347.

      In violation of Title 18, United States Code, Section 1349.




                                        2
    Case 2:19-mj-06194-SCM Document 1 Filed 07/02/19 Page 3 of 7 PageID: 3



                                ATTACHMENT B

       I, Brian Dyson, a Special Agent with the U.S. Department of Health and
Human Services, Office of Inspector General, having conducted an investigation
and having discussed this matter with other law enforcement officers who have
participated in this investigation, have knowledge of the following facts. Because
this Complaint is being submitted for the limited purpose of establishing
probable cause, I have not included each and every fact known to me concerning
this investigation. Rather, I have set forth only the facts that I believe are
necessary to establish probable cause. Unless specifically indicated, all dates
described in this affidavit are approximate and all conversations and statements
described in this affidavit are related in substance and in part.

              Relevant Individuals and Background Information

        1.   At all times relevant to this Criminal Complaint:

            a.    Defendant MATT’HEW S. ELLIS (“ELLIS”) was a medical doctor
based in Gainesville, Florida with a National Provider Identification (“NPI”)
number assigned to him as a certified medical care provider. Defendant ELLIS
was permitted to use his NPI number to bill, and participate in the billing of,
health care benefit programs, including the Medicare program, for legitimate
medical services that were rendered to and ordered for patients to whom
defendant ELLIS provided medical care.

           b.    EDWARD KOSTISHION (“KOSTISHION”), a resident of
Lakeland, Florida, and KACEY PLAISANCE (“PLAISANCE”), a resident of
Altamonte Spring, Florida, were the Managing Partners of Ark Laboratory
Network LLC (“Ark Lab Net”).’

             c.   Ark Lab Net purported to operate a nationwide network of
laboratories and laboratory partners that facilitated genetic testing. Ark Lab
Net’s primary business premises was KOSTISHION’s residence in Lakeland,
Florida. Defendant ELLIS served as the Chief Medical Officer for Ark Lab Net.

              d.     The “Distributor Company,” in partnership with Ark Lab Net,
facilitated genetic testing by, among other things, coordinating health events and
health fairs related to genetic testing, reviewing medical histories and
medications with patients, administering DNA specimen collection by way of oral
buccal swabs, and by advocating for genetic testing as a means of preventative



1  On January 15, 2019, KO$TISHION and PLAISANCE were charged by
complaint in this District with conspiracy to commit heath care fraud, contrary
to 18 U.S.C. § 1347, in violation of 18 U.S.C. § 1349, in connection with their
participation in the conspiracy set forth in this Complaint. See U.S. v. Kostishion
and Plaisance, Mag. No. 19-40 15 (MAH).
                                         3
    Case 2:19-mj-06194-SCM Document 1 Filed 07/02/19 Page 4 of 7 PageID: 4



medicine.    Defendant ELLIS served as the Chief Medical Officer for the
Distributor Company.

             e.    The “Clinical Laboratory” was a clinical laboratory located in
New Jersey that, among other things, performed clinical laboratory genetic
testing, including genomic cancer screening tests.

             f.     Genetic testing utilizes laboratory methods to analyze genes,
which are a portion of one’s hereditary DNA code that contributes to, among
other things, one’s phenotypic traits. Genetic tests can be used to identify health
risks, such as a patient’s risk for certain types of cancers as the result of DNA
mutations. One method of conducting genetic testing is to obtain a DNA sample
from a patient using a cheek (buccal) swab that is sufficient to obtain a genetic
profile. The DNA swab is then submitted to a clinical laboratory, such as the
Clinical Laboratory, for analysis and the results are sent back to the health care
provider that deemed the testing to be medically reasonable and necessary.

             g.    The Medicare program is a federal program established by the
Social Security Act of 1965 (codified as amended in various sections of Title 42,
United States Code) to provide medical services, medical equipment, and
supplies to aged, blind, and disabled individuals who qualify under the Social
Security Act. The Medicare Part B program is a federally funded supplemental
insurance program that provides supplementary Medicare insurance benefits for
individuals aged sixty-five or older and certain individuals who are disabled.

             h.     The Medicare Part B program excludes from coverage
diagnostic tests, which include genetic tests, “that are not reasonable and
necessary   .   [f]or the diagnosis or treatment of illness or injury or to improve
                .   .



the functioning of a malformed body member.” 42 C.F.R. 411. 15(k)(l). In order
to be considered “reasonable and necessary,” Medicare rules require that genetic
testing “must be ordered by the physician who is treating the beneficiary, that
is, the physician who furnishes a consultation or treats a beneficiary for a
specific medical problem and who uses the results in the management of the
beneficiary’s specific medical problem.” 42 C.F.R. 410.32(a). “Tests not ordered
by the physician who is treating the beneficiary are not reasonable and
necessary.”2 Id.




2 Non-physician practitioners, such as clinical nurse specialists or physicians
assistants, may also order genetic tests but are subject to the same requirement
as physicians: they must consult or treat the beneficiary for a specific medical
problem and use the test results to manage the beneficiary’s specific medical
problem. 42 C.F.R. 410.32(a)(2).
                                        4
 Case 2:19-mj-06194-SCM Document 1 Filed 07/02/19 Page 5 of 7 PageID: 5



                          The Conspiracy to Defraud

       2.    In or about October 2018, KOSTISHION and PLAISANCE contacted
an employee of the Clinical Laboratory with a business proposal. KOSTISHION
and PLAISANCE proposed an arrangement by which Ark Lab Net would provide
ten DNA swabs to the Clinical Laboratory in return for payment of approximately
50% of the total Medicare billings realized by the Clinical Laboratory as a result
of the genetic tests.

      3.    On or about November 16, 2018, KOSTISHION sent via email to an
employee at the Clinical Laboratory ten requests for clinical cancer genetic tests,
with the intent that the Clinical Laboratory would bill such tests to Medicare.
The forms were entitled “Test Request Form and Statement of Medical Necessity”
(the “Test Requests”). Each of the Test Requests contained patient health
information, including the patient’s name, date of birth, the medical condition
purportedly justifying the requested cancer genetic test, and the patient’s
Medicare identification number.

       4.    Defendant ELLIS was listed on each of the Test Requests as the
“Ordering Physician.” The Test Requests contained a certification at the bottom
for the “Ordering Physician” to confirm that the cancer genetic tests were
medically reasonable and necessary. Specifically, the certification contained the
following language:

      I have supplied information to the patient regarding genetic testing
      and the patient has given consent for genetic testing to be
      performed. I further confirm that this test is medically necessary for
      the diagnosis or detection of a disease, illness, impairment,
      symptom, syndrome or disorder, and the results will be used in the
      medical management and treatment decisions for the patient. I
      confirm that the person listed in the Ordering Physician space above
      is authorized by law to order the test(s) requested herein.

      5.     The Test Requests contained fraudulent information regarding the
patients’ medical histories and conditions, and falsely represented that
defendant ELLIS provided the patients with information regarding genetic testing
and that the genetic tests were medically necessary. For example, in one of the
Test Requests relating to “Patient 1,” the Test Request indicated that Patient 1
had a personal history of breast cancer at age 44, a prerequisite for Medicare
coverage of the particular test. However, on or about November 29, 2018, Patient
1 confirmed that the information on the Test Request was false. According to
Patient 1, s/he stated that s/he never had any type of cancer in his/her life, and
that s/he never told anyone that s/he had cancer at any point in his/her life.

      6.     Additionally, Patient 1 stated that s/he submitted to the DNA swab
because s/he saw an advertisement on Facebook that offered a $100 gift card
for patients interested in genetic testing. Patient 1 stated that the DNA swab

                                         5
 Case 2:19-mj-06194-SCM Document 1 Filed 07/02/19 Page 6 of 7 PageID: 6



was not taken at a medical or doctor’s office but rather in a “plain old office
building” and that “some random guy” took the swab. S/he confirmed that s/he
never saw or spoke to his/her treating physician about the genetic testing, and
never saw or spoke to defendant ELLIS, the Ordering Physician listed on the Test
Request. Two other patients in the Test Requests were contacted, and both
confirmed they never saw or spoke to any physician in connection with the
genetic tests, let alone defendant ELLIS, the Ordering Physician listed on the
Test Requests.

       7.    Notably, defendant ELLIS, the Ordering Physician on all the Test
Requests, practices medicine in Florida, but Patient 1 was located in Oklahoma.
Indeed, all ten of the patients in the Test Requests were located in Oklahoma,
Arizona, Tennessee, or Mississippi. None of the patients were located in Florida.
Additional investigation revealed that defendant ELLIS was not licensed to
practice medicine in Oklahoma.

       8.    The Distributor Company obtained the DNA swabs to which the Test
Requests related without the involvement of defendant ELLIS or any other health
care professional fulfilling the role of a treating provider. In addition to the initial
ten, the Distributor Company obtained at least eighty more DNA swabs, which
it sent to the Clinical Laboratory for genetic testing with the intent that the
Clinical Laboratory would bill Medicare for such testing without any health care
professional examining or even speaking with the patients.

       9.     Indeed, the DNA swabs were collected before defendant ELLIS or any
other health care professional ever considered whether such tests were medically
necessary or appropriate. For example, in or about November 2018, in a recorded
telephone conversation, PLAISANCE acknowledged that “technicians”—not a
physician or authorized health care professional—conducted a “medical intake
process,” after which the “technicians” took the DNA swabs. According to
PLAISANCE, after the technicians obtained the DNA swabs, the medical notes
were sent to defendant ELLIS, the Ordering Physician, who reviewed the notes
through an electronic portal and ordered the tests. PLAISANCE acknowledged
that defendant ELLIS never examined, consulted, or even spoke to the patients
directly, as indicated on the Test Requests.

       10.   On or about January 7, 2019, Ark Lab Net received payment of
approximately $36,860.52, which reflected Ark Lab Net’s percentage portion of
the total Medicare billings relating to the ten Test Requests. KOSTISHION
previously provided Ark Lab Net’s bank account information to the Clinical
Laboratory. KOSTISHION and PLAISANCE took payment without ever receiving
the test results for the genetic tests ordered in connection with the Test Requests.

       11.  On or about January 10, 2019, in a recorded telephone
conversation, defendant ELLIS admitted that, in his role as Chief Medical Officer
for Ark Lab Net and the Distributor Company, he oversaw the process through
which Ark Lab Net and the Distributor Company acquired and “qualified”

                                           6
  Case 2:19-mj-06194-SCM Document 1 Filed 07/02/19 Page 7 of 7 PageID: 7



patients for genetic testing. Defendant ELLIS further described how Ark Lab Net
and the Distributor Company were developing the business relationship and
“getting ready to go big with this.”

       12.   On or about January 16, 2019, law enforcement agents approached
defendant ELLIS and interviewed him at his office in Gainesville, Florida. Among
other things, defendant ELLIS stated that:

      •   Ark Lab Net merged with the Distributor Company;
      •   PLAISANCE indicated to defendant ELLIS that Ark Lab Net needed
          medical orders so that the genetic tests would be considered medically
          valid;
      •   Ark Lab Net and the Distributor Company hired defendant ELLIS to
          serve as the Chief Medical Officer for which defendant ELLIS was being
          paid $5,000 per month; and
      •   The Distributor Company’s personnel recruited a few hundred patients
          per month for genetic tests through various methods, gathered medical
          information about the patients, and captured the DNA specimen from
          the patients.

       13.   In addition, defendant ELLIS admitted to law enforcement during
this interview that he:

      •   Was aware that he was listed as the ordering physician for the genetic
          tests for patients that the Distributor Company acquired;
      •   Knew that some of the patients for whom tests were ordered were
          Medicare beneficiaries;
      •   Never reviewed the results of the genetic tests that he ordered for the
          patients; and
      •   Never spoke to any of the patients for whom he ordered genetic testing.

      14.    During the interview, law enforcement agents read language to
defendant ELLIS from 42 C.F.R. 410.32, which states, in substance, that the
physician who orders diagnostic tests must be the physician who treats the
patient for a specific condition. Law enforcement agents then asked defendant
ELLIS if he was ordering the test but was not actually treating the patients for
any medical condition. Defendant ELLIS replied, “technically, yes” and admitted
that “our intentions were good, but how it’s being carried out, not so much.”
Defendant ELLIS further admitted that he “knew absolutely” that genetic tests
were prohibited as a screening tool.




                                        7
